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     JAMES SHAYLER
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
     James Shayler,                             Case No.:
11
12           Plaintiff,
13   v.                                      COMPLAINT FOR VIOLATIONS
                                             OF: AMERICANS WITH
14   Rouhollah Zarrabi, Trustee of the       DISABILITIES ACT OF 1990, 42
                                             U.S.C. § 12181 et seq.; UNRUH
15   Rouhollah Zarrabi Revocable Trust dated CIVIL RIGHTS ACT, CALIFORNIA
     May 2, 2018; Yousef Babajouni, Trustee CIVIL CODE § 51 et seq.
16   of the Babajouni Living Trust; and Does
17   1-10,
18           Defendants.                        DEMAND FOR JURY TRIAL
19
20
21
               Most Americans will become disabled at some point in life.
22
23         Plaintiff James Shayler (hereinafter referred to as “Plaintiff,”) complains of
24   Rouhollah Zarrabi, Trustee of the Rouhollah Zarrabi Revocable Trust dated May 2,
25
     2018; Yousef Babajouni, Trustee of the Babajouni Living Trust; and Does 1-10
26
27   (each, individually a “Defendant,” and collectively “Defendants”), and alleges as
28

                                         COMPLAINT
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 1   follows:
 2
                               I.     PARTIES
 3
 4         1.     James Shayler has only partial use of his leg and suffers from heart

 5   failure. Plaintiff is a California resident with physical disabilities. Plaintiff has
 6
     difficulty walking and standing. Plaintiff is mobility impaired. Plaintiff is
 7
 8   qualified as being disabled pursuant to 42 U.S.C. § 12102(2)(A), the California
 9   Unruh Civil Rights Act, §§ 51, et seq., 52, et seq., and other statutory laws which
10
     protect the rights of “disabled persons”. Plaintiff has been issued a blue permanent
11
12   disability Disabled Person Parking Placard by the State of California. Plaintiff is a
13   California resident with physical disabilities.
14
           2.     Defendant Rouhollah Zarrabi, Trustee of the Rouhollah Zarrabi
15
16   Revocable Trust dated May 2, 2018; Yousef Babajouni, Trustee of the Babajouni
17   Living Trust; owned the property (“Property”) located at 825 W Pico Blvd., Los
18
     Angeles, CA 90405, at all relevant times.
19
20         3.     There is a business establishment on the Property known as “Ed’s
21
     Liquor Store” (hereinafter “business”).
22
           4.     DOES 1 through 10 were at all relevant times lessors, lessees, property
23
24   owners, subsidiaries, parent companies, employers, employees, agents, corporate
25
     officers, managers, principles and/or representatives of Defendants. Plaintiff is
26
     unaware of the true names and capacities of Defendants sued herein, as DOES 1
27
28   through 10, inclusive, and therefore, sues those Defendants by fictitious names.
                                           2
                                       COMPLAINT
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 1   Plaintiff requests that the Court grant leave to amend this complaint to allege the
 2
     true names and capacities when determined by whatever source.
 3
 4         5.     Plaintiff alleges that Defendants at all times have been and are relevant

 5   to this cause of action, the owners, franchisees, lessees, general partners, limited
 6
     partners, agents, employees, employers, represent partners, subsidiaries, partner
 7
 8   companies, and/or joint ventures of the remaining Defendants and were acting
 9   within the course and scope of that relationship. Plaintiff is further informed and
10
     believes and alleges that each of the Defendants gave consent to, ratified, and/or
11
12   authorized the acts alleged of each of the remaining defendants.
13         6.     Plaintiff visited the public accommodations owned and operated by
14
     Defendants with the intent to purchase and/or use the goods, services, facilities,
15
16   privileges, advantages, or accommodations operated and/or owned by Defendants.
17                             II.    JURISDICTION & VENUE
18
           7.     This Court has subject matter jurisdiction over this action pursuant to
19
20   28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
21
     Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
22
           8.     Pursuant to supplemental jurisdiction, an attendant and related cause of
23
24   action, arising from the same nucleus of operative facts and arising out of the same
25
     transactions, is also brought under California’s Unruh Civil Rights Act, which act
26
     expressly incorporates the ADA.
27
28         9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
                                           3
                                       COMPLAINT
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 1   founded on the fact that the real property which is the subject of this action is
 2
     located in this district and that Plaintiff’s cause of action arose in this district.
 3
 4                               III.   FACTS

 5          10.    The Property owned by Defendants is a facility which is open to the
 6
     public and is a business establishment.
 7
 8          11.    Plaintiff alleges that the Property has been newly constructed and/or
 9   underwent remodeling, repairs, or alterations since 1992, and that Defendants have
10
     failed to comply with California access standards which applied at the time of each
11
12   new construction and/or alteration or failed to maintain accessible features in
13   operable working condition.
14
            12.    Plaintiff visited the Property during the relevant statutory period on
15
16   three (3) separate occasions, in June 2019, January 2020 and September 2020 to
17   patronize the business.
18
            13.    Defendants did not offer persons with disabilities with equivalent
19
20   facilities, privileges and advantages offered by Defendants to other patrons.
21
            14.    Plaintiff encountered barriers (both physical and intangible) that
22
     interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
23
24   services, privileges, and accommodations offered at the Property.
25
            15.    Parking for patrons visiting the Property are among the facilities,
26
     privileges, and advantages offered by Defendants to patrons of the Property.
27
28          16.    However, there is no accessible parking for disabled patrons. Not one
                                            4
                                        COMPLAINT
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 1   single space. The parking space designated for disabled persons does not comply
 2
     with the Americans with Disabilities Act (“ADA”).
 3
 4         17.    The parking area does not comply with the latest California Building

 5   Codes (“2010 CBC”).
 6
           18.    Parking is one of the facilities, privileges, and advantages offered by
 7
 8   Defendants to patrons of the Property.
 9         19.    When Plaintiff visited the Property, he experienced access barriers
10
     related to parking, signage, and paths of travel.
11
12         20.    Plaintiff encountered the following barriers at Defendant’s Property:
13
14
           VIOLATION of 2010 California Building Code (CBC) § 1114B.1.2; 1991
15
16         ADA Standards for Accessible Design (ADAS) § 4.3.2(1). (Exterior route
17         of travel.) An accessible route of travel is not provided to all entrances and
18
           portions of the building, entrances and/or between the building and a public
19
20         way.
21
22
           VIOLATION of 2010 CBC § 1114B.1.2; 1991 ADAS §§ 4.3.2(1), 4.1.2(1).
23
24         (Transportation - route of travel.) An accessible route of travel must be
25
           provided within the property boundary connecting public transport zones,
26
           parking, passenger loading zones, and the public streets or sidewalks they
27
28         serve, to the building entrance. There is no accessible route connecting these
                                           5
                                       COMPLAINT
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 1         elements for Plaintiff to travel. Even the exteriors of the building were not
 2
           accessible.
 3
 4
 5         VIOLATION of 2010 CBC § 1127B.1. (No accessible exterior route.)
 6
           There was no accessible path of travel into the building entrances. There is
 7
 8         no safe way for Plaintiff to travel from the parking area to the entrance of the
 9         Property.
10
11
12
           VIOLATION of 2010 CBC § 1129B.4(5). (Off-street unauthorized parking
13
14         sign.) An additional sign must be posted in a conspicuous place at all
15         entrances to off-street parking facilities at Property, or adjacent to and visible
16
           from each space. It is not.
17
18
19
20         VIOLATION of 2010 CBC § 1129B.3; 1991 ADAS § 4.6.3; 2010 ADAS §
21         502.2. (Faded paint – accessible space lines.) The paint used for the
22
           designated accessible parking space is so worn and aged that it cannot be
23
24         seen. This makes it unclear where the actual parking space is. The required
25
           width dimensions were not painted as required. This makes it difficult for
26
           Plaintiff to park in the designated space.
27
28
                                             6
                                         COMPLAINT
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 1         VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Width of
 2
           space). The parking space designated for disabled persons measures less than
 3
 4         9 feet wide. This makes it difficult for Plaintiff to park in the designated

 5         space.
 6
 7
 8         VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Length of
 9
           space.) The designated disabled parking spaces measures less than 18 feet
10
11         long, which makes it difficult for Plaintiff to park in the designated space.
12
13
14         VIOLATION of 2010 CBC § 1133B.7.1; 1991 ADAS § 4.6.8. (Abrupt
15
           changes in level.) The path of travel from the space reserved for disabled
16
17         patrons has an uneven ground surface with changes in level exceeding one-

18         half inch.
19
20
21
           VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
22
23         § 502.4. (Slope of parking space.) The parking space reserved for disabled

24         patrons has surface slopes in it that are greater than 2%.
25
     //
26
27   //

28
                                          7
                                      COMPLAINT
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 1         VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
 2
           § 502.4. (Slope of adjacent access aisle.) The adjacent loading/unloading
 3
 4         access aisle for the space reserved for disabled persons has surface slopes in

 5         it that are greater than 2%.
 6
 7
 8         VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
 9
           2010 ADAS § 4.6.3. (Length of adjacent access aisle.) The adjacent access
10
11         aisle to the designated disabled parking space is less than 18 feet long. This
12         makes it difficult for Plaintiff to use the adjacent space to safely disembark
13
           from the car.
14
15
16
           VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
17
18         2010 ADAS § 4.6.3. (Width of adjacent access aisle.) The adjacent
19
           loading/unloading access aisle to the designated disabled parking space is
20
21         less than 5 feet wide. This makes it difficult for Plaintiff to use the adjacent

22         space to safely disembark from the car.
23
24
25         VIOLATION of 2010 CBC § 1129B.3.1; 1991 ADAS § 4.6.3; 2010 ADAS
26
           § 502.3. (No loading/unloading access aisle.) The adjacent loading/unloading
27
28         access aisle for the accessible parking space was missing entirely. This made

                                          8
                                      COMPLAINT
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 1         it difficult for Plaintiff to use the adjacent space to safely disembark from the
 2
           car.
 3
 4
 5         VIOLATION of 2010 CBC § 1129B.4. (Surface signage.) The paint used for
 6
           the designated accessible parking spaces is faded and cannot be seen. There is
 7
 8         no compliant surface signage at the designated disabled parking space. The
 9         International Access Symbol is so faded and worn that it cannot be read. The
10
           street surface (pavement) signage is unreadable because the paint has faded.
11
12
13         VIOLATION of 2010 CBC § 1129B.3.1. (“No Parking” – surface sign.)
14
           The words “No Parking” are missing from the adjacent loading/unloading
15
16         access aisle. They must be painted with letters at least 12” high. As a result,
17
           non-disabled patrons park in the loading/unloading access aisle – blocking
18
           Plaintiff from being able to use the access aisle. These words were faded
19
20         and can no longer be seen.
21
22
23         VIOLATION of 2010 CBC § 1129B.4; 1991 ADAS § 4.6.4. (Sign off-
24
           center.) Although there is a sign showing where the designated accessible
25
           space parking is, it is not centered as required, but off to the side. The sign
26
27         was posted away from the middle of the parking space, rather than centered
28
                                          9
                                      COMPLAINT
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  1         at the space as required. This makes it more difficult for people and parking
  2
            enforcement to determine which space is intended for the sole use of disabled
  3
  4         persons.

  5
  6
  7         VIOLATION of 2010 CBC § 1129B.1; 2010 ADAS § 502.6. (Sign
  8         obscured.) The disabled parking space does have a disabled parking sign;
  9
            however, it is obscured from being read because it is covered with vandalism,
 10
 11         making it difficult for Plaintiff, other patrons to see and read the sign. The
 12         sign is vandalized and has been left vandalized.
 13
 14
 15
            VIOLATION of 2010 ADAS § 502.3. (Access aisles.) The adjacent
 16
 17         loading/unloading access aisle must adjoin an accessible route to an
 18         accessible entrance. It does not.
 19
 20
 21         VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Path from
 22
            parking – uneven surface.) The path of travel from the designated disabled
 23
 24         parking space to the entrance has damaged ground which is uneven. The
 25
            damaged ground has pavement distresses. Parts of the ground surface are not
 26
            flush. The surface of the ground within the designated path of travel leading
 27
 28         into the entrance is not flat. This makes traveling in this area difficult. The
                                          10
                                       COMPLAINT
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  1         path of travel from the designated disabled parking space to the entrance runs
  2
            into these pavement distresses which has caused changes in level greater than
  3
  4         1/2 inch but provides no ramps. These steep changes in level create uneven

  5         surfaces. The parking area is riddled with damaged asphalt. Some of
  6
            these damaged areas are particularly severe directly in the disabled
  7
  8         parking spaces as well as the adjacent loading/unloading aisles, in
  9         addition to being along the paths of travel into the only customer
 10
            entrance. Some of the damaged areas in the asphalt as well as the
 11
 12         concrete exist in various areas in different degrees. The types of
 13         pavement distresses which exist include but are not limited to:
 14
               • raveling
 15
 16
               • stripping
 17
 18            • corrugation and shoving; and
 19
 20            • depressions

 21
            These pavement distresses are made worse and exacerbated by designs
 22
 23         which do not follow the ADAAG.

 24
            WARNING: These areas should be fixed immediately because they are
 25
 26         also a tripping and falling hazard.

 27
 28
                                         11
                                      COMPLAINT
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  1         VIOLATION of 2010 CBC § 1133B.5.3.1; 1991 ADAS § 4.8.6. (Maximum
  2
            cross slope of ramp.) The cross slope of the ramp was greater than 2%.
  3
  4
  5         VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4. (Level ramp
  6
            landings.) Level ramp landings must be provided at the top and bottom of
  7
  8         each ramp. They are not provided.
  9
 10
            VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4(1). (Width of
 11
 12         ramp landings.) The landing of ramps must be at least twice the width as the
 13         ramp run leading to it, but they are not at least twice as wide.
 14
 15
 16         VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
 17
            sign – towed vehicle information.) The unauthorized parking towed vehicle
 18
 19         sign must state information regarding the tow company and telephone
 20         number. This information was not provided.
 21
 22
 23
            VIOLATION of 2010 CBC § 1127B.1; 1991 ADAS § 4.6.2(1).
 24
            (Directional signage.) There is no directional signage showing an accessible
 25
 26         path of travel.
 27
            21.   Plaintiff personally encountered the foregoing barriers.
 28
                                          12
                                       COMPLAINT
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  1         22.      These inaccessible conditions denied Plaintiff full and equal access
  2
      and caused difficulty, humiliation, and/or frustration.
  3
  4         23.      The barriers existed during each of Plaintiff’s visits in 2019 and 2020.

  5         24.      Plaintiff alleges that Defendants knew that the foregoing architectural
  6
      barriers prevented access. Plaintiff will prove that Defendants had actual knowledge
  7
  8   that the architectural barriers prevented access, and that the noncompliance with the
  9   ADA Accessibility Guidelines and Title 24 of the California Building Code was
 10
      intentional.
 11
 12         25.      Plaintiff intends visit the Property again soon. Currently, Plaintiff is
 13   reasonably deterred from returning to Defendants’ public accommodation facilities
 14
      because of the knowledge of barriers to equal access, relating to Plaintiff’s
 15
 16   disabilities, that continue to exist at the Property.
 17         26.      Defendants have failed to maintain in working and useable conditions
 18
      those features necessary to provide ready access to persons with disabilities.
 19
 20         27.      Defendants have the financial resources to remove these barriers
 21
      without much expense or difficulty in order to make their Property more accessible
 22
      to their mobility impaired customers. The removal of these barriers is readily
 23
 24   achievable. The United States Department of Justice has determined that removal of
 25
      these types of barriers is readily achievable to remove.
 26
            28.      Defendants refuse to remove these barriers.
 27
 28         29.      On information and belief, Plaintiff alleges that Defendants’ failure to
                                             13
                                          COMPLAINT
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  1   remove these barriers was intentional, because the barriers are logical and obvious.
  2
      During all relevant times, Defendants had authority, control, and dominion over
  3
  4   these conditions; thus, the absence of accessible facilities was not a mishap, but

  5   rather an intentional act.
  6
            30.    These barriers to access are described herein without prejudice to
  7
  8   Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
  9   access agents, pursuant to Doran v 7-ELEVEN, Inc., 524 F3d 1034 (9th Cir. 2008)
 10
      (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
 11
 12   have all barriers that relate to his or her disability removed, regardless of whether
 13   he or she personally encountered them).
 14
         IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 15
 16       WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
 17                                  (Against All Defendants)
 18
            31.    Plaintiff alleges and incorporates by reference each and every
 19
 20   allegation contained in all prior paragraphs of this complaint.
 21         32.    Title III of the ADA prohibits discrimination against any person on the
 22
      basis of disability in the full and equal enjoyment of the goods, services, facilities,
 23
 24   privileges, advantages, or accommodations of any place of public accommodation
 25
      by any person who owns, leases, or operates a place of public accommodation.
 26
      U.S.C. § 12182(a).
 27
 28         33.    Defendants discriminated against Plaintiff by denying “full and equal
                                            14
                                         COMPLAINT
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  1   enjoyment” and use of the goods, services, facilities, privileges, or accommodations
  2
      of Defendant’s facility during each visit and each incident of deterred visit.
  3
  4         34.    The acts and omissions of Defendants herein were/are in violation of

  5   Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
  6
            35.     Pursuant to the ADA, discrimination is a “failure to make reasonable
  7
  8   modifications in policies, practices or procedures, when such modifications are
  9   necessary to afford goods, services, facilities, privileges, advantages or
 10
      accommodations to individuals with disabilities, unless the entity can demonstrate
 11
 12   that making such modifications would fundamentally alter the nature of such goods,
 13   services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
 14
      12182(b)(2)(A)(ii).
 15
 16         36.    The ADA requires removal of architectural barriers in existing
 17   facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv.)
 18
      (“discrimination includes … a failure to remove architectural barriers, and
 19
 20   communication barriers that are structural in nature, in existing facilities, … where
 21
      such removal is readily achievable”). The term “readily achievable” is defined as
 22
      “easily accomplishable and able to be carried out without much difficulty or
 23
 24   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
 25
      Standards of Accessible Design (“ADAS”), found at 28 C.F.R., Part 36, including
 26
      the ADA Accessibility Guidelines for Buildings and Facilities (“ADAAG”) at Part
 27
 28   36, Appendix A.
                                           15
                                        COMPLAINT
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  1         37.     If removal of any barrier is not readily achievable, a failure to make
  2
      goods, services, facilities, or accommodations available through alternative
  3
  4   methods is also prohibited if these methods are readily achievable. 42 U.S.C. §

  5   12182(b)(2)(A)(v).
  6
            38.     Plaintiff alleges that Defendants can easily remove the architectural
  7
  8   barriers at their facility without much difficulty or expense, and that Defendants
  9   violated the ADA by failing to remove those barriers because removal was readily
 10
      achievable. There are companies in the area which can repaint parking areas for as
 11
 12   little as $350. Defendants can afford such costs, which are a fraction of what
 13   Defendants receive in rental profits for such a large and expensive property.
 14
            39.     Alternatively, if it was not “readily achievable” for Defendants to
 15
 16   remove barriers at their facilities, Defendants violated the ADA by failing to make
 17   the required services available through alternative methods, which are readily
 18
      achievable.
 19
 20         40.     On information and belief, the facility was modified after January 26,
 21
      1992, mandating compliance access requirements under the ADA.
 22
            41.     The ADA requires that facilities altered in a manner that affects or
 23
 24   could affect their usability must be made readily accessible to individuals with
 25
      disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
 26
            42.     Plaintiff alleges that Defendants altered the facilities at the Property in
 27
 28   a manner that violated the ADA, and/or failed to make the Property readily
                                            16
                                         COMPLAINT
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  1   accessible to physically disabled persons, including Plaintiff, to the maximum
  2
      extent feasible.
  3
  4         43.    The ADA also requires reasonable modifications in policies, practices,

  5   or procedures, when such modifications are necessary to afford goods, services,
  6
      facilities, privileges, advantages, or accommodations to individuals with
  7
  8   disabilities, unless the entity can demonstrate that making such modifications
  9   would fundamentally alter the nature of such goods, services, facilities, privileges,
 10
      advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 11
 12         44.    Plaintiff alleges that Defendants violated the ADA by failing to make
 13   reasonable modifications in policies, practices, or procedures at the Property when
 14
      these modifications were necessary to afford (and would not fundamentally alter the
 15
 16   nature of) the goods, services, facilities, privileges, advantages, or accommodations.
 17         45.    Plaintiff seeks a finding from this Court that Defendants violated the
 18
      ADA, so that he may pursue damages under California’s Unruh Civil Rights Act
 19
 20   for Disable Persons Act.
 21
            46.    Here Defendants’ failure to make sure that accessible facilities were
 22
      available and ready to be used by the Plaintiff was/is a violation of law.
 23
 24         47.    Plaintiff would like to continue to frequent Defendants’ property
 25
      because it is close to his home. However, he is deterred from doing so because he
 26
      has been discriminated against and is aware of accessibility barriers at the Property.
 27
 28         48.    Among the remedies sought, Plaintiff seeks an injunction order
                                          17
                                       COMPLAINT
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  1   requiring compliance with state and federal access laws, and remediation of all the
  2
      existing access violations at the Property.
  3
  4     V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT

  5                                  (Cal. Civ. Code § 51-53.)
  6
                                      (Against All Defendants)
  7
  8            49.   Plaintiff repleads and incorporates by reference, as though fully set
  9   forth herein, the allegations contained in all prior paragraphs of this complaint.
 10
               50.   California Civil Code § 51 states, in part: “All persons within the
 11
 12   jurisdictions of this state are entitled to the full and equal accommodations,
 13   advantages, facilities, privileges, or services in all business establishments of every
 14
      kind whatsoever.”
 15
 16            51.   California Civil Code § 51 also states, in part: “No business
 17   establishment of any kind whatsoever shall discriminate against any person in this
 18
      state because of the disability of the person.”
 19
 20            52.   California Civil Code § 51(f) specifically incorporates, by reference,
 21
      an individual’s rights under the ADA, into the Unruh Civil Rights Act. (“Unruh
 22
      Act”).
 23
 24            53.   The Unruh Act also provides that a violation of the ADA, or California
 25
      state accessibility regulations, is a violation of the Unruh Act Cal. Civ. Code §
 26
      51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D.
 27
 28   Cal. 1994).
                                            18
                                         COMPLAINT
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  1          54.    Defendants’ above-mentioned acts and omissions have violated the
  2
      Unruh Act by denying Plaintiff his rights to full and equal use of the
  3
  4   accommodations, advantages, facilities, privileges, and services they offer, on the

  5   basis of Plaintiff’s disability.
  6
             55.    Defendants’ above-mentioned acts and omissions have also violated
  7
  8   the Unruh Act by denying Plaintiff his rights to equal access pursuant to the ADA;
  9   and, thus, Defendants are liable for damages. Cal. Civ. Code § 51(f), 52(a).
 10
             56.    Because violation of the Unruh Act resulted in difficulty, discomfort,
 11
 12   and/or embarrassment for Plaintiff, the Defendants are each also responsible for
 13   statutory damages, such as a civil penalty. Cal. Civ. Code § 55.56(a)(c).
 14
             57.    Plaintiff was actually damaged.
 15
 16   //
 17   //
 18
      //
 19
 20   //
 21
      //
 22
      //
 23
 24   //
 25
      //
 26
      //
 27
 28   //
                                            19
                                         COMPLAINT
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  1         58.      Plaintiff was damaged by Defendants’ wrongful conduct and seeks
  2
      statutory minimum damages of four thousand dollars ($4,000) for each offense.
  3
  4                                  PRAYER FOR RELIEF

  5                  WHEREFORE, Plaintiff prays for judgment against Defendants, as
  6
      follows:
  7
  8         1. For injunctive relief, compelling Defendants to comply with the
  9               Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
 10
                  Plaintiff is not invoking section 55 of the California Civil Code and is not
 11
 12               seeking injunctive relief under the Disabled Person Acts.
 13         2. Damages under the Unruh Civil Rights Act, which provides for actual
 14
                  damages and a statutory minimum of $4,000 per each offense.
 15
 16         3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
 17               42 U.S.C. § 12205, and Cal. Civ. Code § 52.
 18
                                         JURY DEMAND
 19
 20   Plaintiffs demand a trial by jury on all issues so triable.
 21
 22
      DATED: October 2, 2020             THE LAW OFFICE OF HAKIMI & SHAHRIARI
 23
 24
                                         By:   /s/ Peter Shahriari, Esq.____________
 25                                            PETER SHAHRIARI, ESQ.
 26                                            Attorney for Plaintiff, James Shayler

 27
 28
                                            20
                                         COMPLAINT
